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 5   Attorneys for Defendant Morgan Rockcoons
 6                         UNITED STATES DISTRICT COURT
 7               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )
                                         )
 9                  Plaintiff,           )
                                         )
10   v.                                  ) CASE NO. 17-CR-03690-AJB
                                         )
11   MORGAN ROCKCOONS,                   ) STIPULATION TO CONTINUE
                                         ) MOTION HEARING AND
12                  Defendant.           ) TRIAL SETTING HEARING
                                         )
13                                       )
     ___________________________________ )
14
            IT IS HEREBY STIPULATED AND AGREED, by and between JONATHAN
15
     SHAPIRO, Assistant United States Attorney, counsel for the United States of America, and
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     RICHARD A. SCHONFELD, ESQ., counsel for Defendant, MORGAN ROCKCOONS, that
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     the Motion to Merge Counts 3 & 4 of the Superseding Indictment and Sever Counts 1 and 2 and
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     the Trial Setting Hearing both scheduled for December 10, 2018 at 2:00pm, be continued to
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     January 14, 2019, at 2:00pm, or a time thereafter convenient to this Honorable Court.
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            This stipulation is entered into for the following reasons:
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            1.     The undersigned defense counsel recently received a discovery production from
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     the government and needs time to review said production;
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            2.     The Government anticipates producing additional discovery;
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            3.     AUSA Jonathan Shapiro has agreed to this request;
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 1          4.     The Defendant is in custody and does not object to the continuance; and,
 2          5.     The parties agree that the time requested herein for the continuance will be
 3                 excluded under the Speedy Trial Act, Title 18, United States Code, Sections
 4                 3161(h)(1)(D) and 3161(h)(7)(A) when considering the factors under Title 18,
 5                 United States Code, Sections 3161(h)(7)(B)(I) and 3161(h)(7)(B)(iv)
 6          DATED this 4th day of December, 2018.
 7
 8   UNITED STATES ATTORNEY                             CHESNOFF & SCHONFELD
 9     /s/                                               /s/
     JONATHAN SHAPIRO, AUSA                             RICHARD A. SCHONFELD, ESQ.
10   880 Front Street, #6293                            California Bar No. 202182
     San Diego, California 92101                        520 South Fourth Street
11   Attorney for Plaintiff                             Las Vegas, Nevada 89101
                                                        Attorney for Defendant
12
                                              ORDER
13
            IT IS THEREFORE ORDERED that the Motion to Merge Counts 3 & 4 of the
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     Superseding Indictment and Sever Counts 1 and 2 and the Trial Setting Hearing both scheduled
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     for December 10, 2018 at 2:00pm, be vacated and continued to January 14, 2019, at 2:00pm.
16
            DATED this        day of ________________________, 2018.
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19                                           THE HONORABLE ANTHONY J. BATTAGLIA
                                             UNITED STATES DISTRICT COURT JUDGE
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21 Respectfully submitted:
22 /s/
   RICHARD A. SCHONFELD, ESQ.
23 Attorney for Defendant
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